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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

CARLOS ALVAREZ CHICAS, ALONSO VILLATORO,
MISAEL ALEXANDER MARTINEZ CASTRO, ANGEL
MARTINEZ, EDWIN ULLOA MOREIRA and MATEO
UMAÑA individually and on behalf of all others similarly
situated,                                                  Case No. 21-cv-09014
                                                           (PAE)(SDA)
                                          Plaintiffs,

                        - against -

KELCO CONSTRUCTION, INC., KELCO
LANDSCAPING, INC., E.L.M. GENERAL
CONSTRUCTION CORP. D/B/A KELLY’S CREW, JOHN
KELLY and JOSEPH PROVENZANO,

                                          Defendants.


   PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
                       MOTION TO DISMISS




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                                    PROCEDURAL HISTORY

        This action was commenced on November 2, 2021. The original complaint was filed by

two representative plaintiffs – Carlos Alvarez Chicas (“Alvarez”) and Alonso Villatoro

(“Villatoro”) – to recover, inter alia, overtime wages and prevailing wages as third party

beneficiaries of public works contracts entered into by Kelco Construction, Inc. Defendants

answered the complaint on January 18, 2022. Defendants then offered to mediate early, and a stay

was issued. Mediation was ultimately unsuccessful. 1

        On June 4, 2022, the Plaintiffs forwarded a proposed First Amended Complaint (“FAC”)

to the Defendants. This complaint added Misael Alexander Martinez Castro (“Castro”), Angel

Martinez (“Martinez”), Edwin Ulloa Moreira (“Ulloa”) and Mateo Umaña as named Plaintiffs. On

December 14, 2022, before Defendants answered the FAC, Plaintiffs furnished a proposed Second

Amended Complaint (“SAC”) to the Defendants which added Kelco Landscaping, Inc. as a

defendant.

        The prevailing wage allegations in the FAC furnished on June 4, 2022 contained the same

level of specificity as the prevailing wage allegations in the original complaint, and the prevailing

wage allegations contained in the SAC furnished on December 14, 2022 were virtually identical

to those contained in the FAC furnished on June 4, 2022.

        On January 20, 2023, more than one year after answering a complaint similar in form, and

after twice consenting to an amendment without voicing any concerns regarding the level of

specificity of pleading, defendants moved to dismiss the prevailing wage claims.




1
  As of today, Defendants have not furnished any contracts for work performed by the Plaintiffs either in
response to the original requests served on March 17, 2022 or in response to the supplemental requests
served in January 2023.


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        On February 16, 2023 Plaintiffs offered to “amend the complaint to resolve the pleading

issues” and sought to “explore the possibility of resolving [Defendants’ concerns] without court

intervention.” Defendants stated that “[b]efore consenting to any amendment, [they would] need

to see the proposed amended complaint.” Defendants were furnished with the proposed TAC on

March 14, 2023. 2

        On March 23, 2023 defendants’ counsel sent an email stating:.

        We have reviewed the proposed amendments. In an effort to try to extend some
        good will, we will agree to not contest your filing of the [third] amended complaint
        even though we think it is still deficient in a number of respects. 3

        Plaintiffs immediately asked Defendants for clarification as to whether, in light of the

proposed amendments, they intended on challenging the TAC based upon a pleading deficiency

or futility. 4 Despite Defendants’ offer of “good will”, they did not respond. Three months later,

Defendants filed a motion to dismiss, stating, in part:

        Plaintiffs were amply noticed of, but consciously declined to cure, the defects from
        which the SAC suffered, doubling down on those self-same defects in the TAC, the
        Court should not countenance such willful disregard of applicable pleading
        standards, and ought to dismiss the Complaint, in its entirety, as against Kelco
        Landscaping, and the fourth causes of action thereof, as against all Defendants, with
        prejudice. 5

                      SUMMARY OF THE ALLEGATIONS IN THE TAC

        The allegations relating to prevailing wages are as follows:

        5. Kelco Construction entered into numerous contracts in which it agreed to pay
        prevailing wages to employees. Kelco Construction then used ELM to pay
        employees for work performed under these prevailing wage contracts at rates below
        the prevailing rates. As a result, Defendants failed to pay Plaintiffs the prevailing
        wages to which they are entitled as third party beneficiaries.




2
  See Moser Declaration ¶¶
3
  See Moser Declaration ¶¶
4
  See Moser Declaration ¶¶
5
  Defendants’ Memorandum of Law in Support of Motion to Dismiss, at 3.


                                                      2
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  64. During his employment Alvarez performed work exclusively under prevailing
  wage construction contracts, including: Central Park [and] Brooklyn Botanical
  Gardens.

  71. Defendants did not pay Alvarez time and a half for hours worked in excess of
  8 hours each workday as required by the prevailing wage contracts.

  72. Defendants did not pay Alvarez time and a half for hours worked in excess of
  40 hours each workweek as required by the prevailing wage contracts.

  73. For example, for the week ending March 2, 2019 Alvarez worked at least 47
  hours. Kelco Construction paid Alvarez for 33 hours (32 regular hours at $46.35
  per hour, and 1 hour at an overtime rate of $69.525 per hour). ELM also paid
  Alvarez a drive time bonus of $180. The Defendants failed to pay Alvarez for at
  least 6 overtime hours worked at one and one half times his regular rate of pay and
  failed to pay Alvarez for 8 regular hours worked at his agreed upon Kelco
  Construction rate ($46.35/hour). The drive time bonus was not included in the
  Plaintiff’s regular rate of pay for the purposes of computing Plaintiff’s overtime
  rate. Upon information and belief, the work performed during this workweek was
  performed pursuant to a prevailing wage contract, and plaintiff was entitled to
  prevailing wages of $46.35 per hour plus supplemental benefits for working fewer
  than 8 hours a day and 40 hours per week, and prevailing wages of $69.525 plus
  supplemental benefits for all hours worked in excess of 8 hours a day and 40 hours
  a week. Plaintiff worked more than 10 hours each day this workweek. Defendants
  did not pay the Plaintiff time and half for hours worked in excess of 8 each day,
  and did not pay one and one half times the prevailing wage for all overtime hours
  worked.

  77. During his employment, Villatoro performed work exclusively under prevailing
  wage contracts, including: The Brooklyn Botanical Gardens[,] Queens Plaza
  Park[,] Domino Park[,] and Brooklyn Bridge Park.”

  82. Defendants did not pay Villatoro time and a half for hours worked in excess of
  8 hours each workday as required by the prevailing wage contracts.

  83. Defendants did not pay Villatoro time and a half for hours worked in excess of
  40 hours each workweek as required by the contracts.

  85. For example, for the week ending November 2, 2019, Villatoro worked at least
  49 hours. Kelco Construction paid Villatoro for 35 hours (32 hours at $46.85 per
  hour, and 3 hours at an overtime rate of $70.275 per hour). ELM also paid Villatoro
  a drive time bonus of $240.00. Defendants failed to pay Villatoro for at least
  6overtime hours worked at one and one half times his regular rate of pay and failed
  to pay Villatoro for 8 regular hours at his agreed upon Kelco Construction rate
  (46.85/hour). The drive time bonus was not included in the Plaintiff’s regular rate
  of pay for the purposes of computing the Plaintiff’s overtime rate. Upon
  information and belief, the work performed during this workweek was performed



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  pursuant to a prevailing wage contract, and plaintiff was entitled to prevailing
  wages of $46.35 per hour plus supplemental benefits for working fewer than 8
  hours a day and 40 hours per week, and prevailing wages of $69.525 plus
  supplemental benefits for all hours worked in excess of 8 hours a day and 40 hours
  a week. Plaintiff worked more than 10 hours each day this workweek. Defendants
  did not pay the Plaintiff time and half for hours worked in excess of 8 each day,
  and did not pay one and one half times the prevailing wage for all overtime hours
  worked.

  89. Castro performed work upon numerous prevailing wage contracts...including
  Central Park (work included planting, laying mulch, sod installation), Columbus
  Circle (planting, making beds for plants, cement work, installing mulch, and
  installing pavers), Hudson Yards (planting and other landscaping), and
  Dumbo/Brooklyn Bridge Park (planting and landscaping).

  91. Martinez performed work upon numerous prevailing wage contracts while
  employed by the Defendants, including Columbus Circle (construction and
  installing pavers), Morningside park (building walkways and planting trees),
  Hudson Yards (planting, installing sod, and maintenance), and Brooklyn Botanical
  Garden (planting, cutting grass and maintenance).

  93. Ulloa performed work upon numerous prevailing wage contracts while
  employed by Defendants including Frank Golden Park (leveling the field and
  installing turf), the Metropolitan Museum of Art (planting large trees) [and] The
  Museum of Natural History (maintenance and sod installation).

  [93.] Umaña was employed by Defendants from approximately March 2017 until
  approximately September 2019. Umana performed work upon prevailing wage
  contracts while employed by the Defendants, including the Queens Museum of
  Science (landscaping and maintenance).

  98. Defendants did not pay [Castro, Martinez, Ulloa or Umana (the “ELM
  Plaintiffs”) prevailing wages for work performed pursuant to prevailing wage
  contracts. Instead, they paid the ELM plaintiffs between $20-30 per hour. Upon
  information and belief, the prevailing wages to which the Plaintiffs were entitled
  were in excess of $45 (not including supplemental benefits). Plaintiffs worked in
  excess of 10 hours each day (including travel time), but were not paid 1 ½ times
  the prevailing wage for hours worked in excess of 8 hours each day and 40 hours
  each week.

  146. Upon information and belief, the Defendants entered into valid and binding
  contracts which contained a promise to pay prevailing wages to the Named
  Plaintiffs and the class.

  147. The Named Plaintiffs and the class were intended beneficiaries of the contracts
  entered into by the Defendants.




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        148. Defendants failed to pay the Named Plaintiffs and the class prevailing wages
        for all hours worked, time and a half the prevailing wage for all hours worked in
        excess of 8 hours each day, and time and a half the prevailing wage for all hours
        worked in excess of 40 each workweek.

                                                 ARGUMENT

1. THE PLAINTIFFS WERE ENGAGED IN PUBLIC WORK

    1.1. The Defendants admitted in a prior lawsuit that work performed at the locations
         identified by the Plaintiffs herein was “public work”

        Defendants suggest that work performed by them at Lincoln Center, the Metropolitan

Museum of Art, the American Museum of Natural History, Brooklyn Bridge Park and Hudson

River Park was not public work. 6 However, Defendants admitted in a prior action that work

performed by Kelco at Lincoln Center, the Metropolitan Museum of Art, the Museum of Natural

History, Brooklyn Bridge Park and Hudson River Park was indeed “public work.” More

specifically, in the case of Henriquez v. Kelco Landscaping, Inc., et al., 12-cv-6233(ADS)(GRB),

the plaintiffs alleged:

        54. Upon information and belief, KELCO entered into a number of public works
        contracts which called for KELCO to perform landscape construction work at
        various locations in New York (the “Public Works Contracts”).

        Defendants answered as follows:

        54. Kelco admits the allegations contained in paragraph 54 of the Complaint.

        Plaintiffs also alleged:

        55. The Public Works Contracts included but are not limited to projects upon which
        KELCO performed work at Brooklyn Bridge Park 7, Hudson River Park, Central
        Park 8 , High Line, Washington Square Park, Hanover Square Park, Brooklyn
        Botanical Gardens 9 , Fulton Ferry, United Nations, Lincoln Center, Museum of
        Modem Art 10, Bryant Park, Metropolitan Museum of Art 11 and Citifield.

6
  See Def. MOL, at 16.
7
  Plaintiffs Villatoro and Castro allege that worked at the Brooklyn Bridge Park.
8
  Plaintiffs Alvarez and Castro allege that they performed work at Central Park.
9
  Plaintiffs Alvarez, Villatoro and Martinez allege that they performed work at the Brooklyn Botanical Gardens.
10
   Plaintiff Ulloa alleges that he worked at the Museum of Modern Art.
11
   Plaintiff Ulloa alleges that he worked at worked at the Metropolitan Museum of Art.


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           Defendants answered as follows:

           55. Kelco admits the allegations contained in paragraph 55 of the Complaint. 12

           While a judicial admission in a prior case is not binding on said party in a subsequent

proceeding, the judicial admission may be considered as evidence in the subsequent action.

Hausler v. JP Morgan Chase Bank, N.A., 127 F. Supp. 3d 17, 38 (S.D.N.Y. 2015). Furthermore,

in Henriquez, the parties appeared before then Magistrate Judge Gary R. Brown, who in order to

facilitate settlement suggested that Defendants voluntarily provide certified payroll records and

time cards for public works employment by the plaintiffs who worked for Kelco Construction, Inc.

Defendants submitted the certified payroll records to the Court for numerous “public works”

contracts, including work performed at Brooklyn Bridge Park, Central Park, Hudson River Park,

and The American Museum of Natural History. 13

           To the extent that Defendants claim that Plaintiffs did not perform work under Kelco’s

contracts, Plaintiffs are in possession of identification cards issued at various worksites identifying

them as employees of Kelco. 14

       1.2. Even if such admission were not made, the Defendants’ suggestion that it can be
            reasonably inferred that work performed at the locations identified by the Plaintiffs
            was not “Public Work” is without merit.

           Defendants suggest that work must be contracted by a “municipality or public contracting

agency of the City of New York” in order to qualify as “public work.” 15 However, NYLL 220

applies broadly to “[e]ach contract to which the state or a public benefit corporation or a municipal

corporation or a commission appointed to law is a party, and any contract for public work entered




12
     Relevant portions of the Henriquez Complaint and Answer are annexed to the Moser Declaration as Exhibits 1 &
2.
13
   Representative samples of certified payrolls from Henriquez are annexed to the Moser Declaration as Exhibit 3.
14
   Several examples of these IDs are annexed to the Moser Declaration as Exhibit 4.
15
   Def MOL at 16.


                                                          6
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into by a third party acting in place of, on behalf of and for the benefit of such public entity.”

NYLL 220(2)(emphasis supplied).

        There are more than 50 public benefit corporations which have been established by the

legislature of the State of New York. One example is the Hudson River Park Trust.

        As set forth in the Hudson River Park Trust’s enabling legislation, the mission of
        the Hudson River Park Trust is to encourage, promote and expand public access to
        the Hudson River, to promote water-based recreation, and enhance the natural,
        cultural, and historic aspects of the river from Battery Park City to West 59th Street
        in New York City for residents and visitors to the area. The Trust has authority over
        the planning, construction, operation and maintenance of Hudson River Park. 16

        Therefore, Defendants’ suggestion that the Court may not infer that work performed at the

Hudson River Park was not public work is without merit. Equally without merit is Defendants

suggestion that work performed on or around the Metropolitan Museum of Art is not public work.

        For more than a century the City of New York and the Trustees of The Metropolitan
        Museum of Art have been partners in bringing the Museum’s services to the public.
        The complex of buildings in Central Park is the property of the City, 17

        Finally, work performed upon public parks such as Central Park is “public work.”

Defendants cite De La. Cruz v. Caddell Dry Dock & Repair Co., 2013 N.Y. Slip Op. 4842, 21

N.Y.3d 530, 975 N.Y.S.2d 371, 997 N.E.2d 1223 (N.Y. June 27, 2013). Delacruz did not set forth

any standard for pleading a cause of action on behalf of third party beneficiaries for breach of a

prevailing wage contract. However, Delacruz did observe that work performed on parks was

“public work.”

        More pertinently, given the nineteenth-century origin of the law we are concerned
        with, the first edition of Black’s Law Dictionary defined “public works” as
        “[w]orks, whether of construction or adaptation, undertaken and carried out by the
        national, state, or municipal authorities, and designed to subserve some purpose of
        public necessity, use, or convenience; such as public buildings, roads, aqueducts,

16
   https://www.budget.ny.gov/pubs/archive/fy21/exec/agencies/appropdata/HudsonRiverParkTrust.html (last visited
July 13, 2023).
17
   https://www.metmuseum.org/press/general-information/2010/an-overview-of-the-museum (last visited July 13,
2023).


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        parks, etc.” (Black’s Law Dictionary 964 [1st ed 1891]; see also Black’s Law
        Dictionary 1231 [2d ed 1910] [same]).

De La. Cruz, 2013 N.Y. Slip Op. 4842. The Court of appeals went on to hold that the language of

NYLL 220 should be construed so broadly so as to include a private company’s maintenance of a

ferry boat. Id.

2. THE CASES CITED BY DEFENDANTS REQUIRING SPECIFICITY IN PLEADING
   A BREACH OF CONTRACT CLAIM ARE INAPPLICABLE

        Defendants cite to numerous state court decisions to support their conclusion that Plaintiffs

must (1) “identify the actual contracts themselves”, and (2) cite the “specific provisions thereof

that purport to have required Defendants to pay them the prevailing wage.” 18 However, these cases

have been held to be inapplicable as they apply CPLR § 3013:

        Some courts have required specificity in alleging that the contract contained
        prevailing wage terms. “In order to plead a breach of contract cause of action, a
        complaint must allege the provisions of the contract upon which the claim is based.
        The pleadings must be sufficiently particular to give the court and [the] parties
        notice of the transactions, occurrences, or series of transactions or occurrences,
        intended to be proved as well as the material elements of each cause of action or
        defense.” Maldonado, 8 A.D.3d 348, 777 N.Y.S. 2d 730, 731 (quoting Atkinson v.
        Mobil Oil Corp., 205 A.D.2d 719, 614 N.Y.S.2d 36 (2d Dep’t 1994)”. . . In the
        context of a § 220 breach of contract claim, identifying the project and the relevant
        wage provision within the contract has been held to establish the promisee’s intent
        to benefit a third party. See Dabrowski v. Abax Inc., 64 A.D.3d 426, 882 N.Y.S.2d
        119, 120 (1st Dep’t 2009); Stennett v. Moveway Transfer & Storage, Inc., 97
        A.D.3d 655, 949 N.Y.S.2d 91, 93 (2d Dep’t 2012).

        However, these New York cases appear to be interpreting N.Y.C.P.L.R. § 3013,
        which states that “[s]tatements in a pleading shall be sufficiently particular to give

18
  Def. MOL at 13-14; Such cases include Victory State Bank v. EMBA Hylan, L.L.C., 169
A.D.3d 963, 965 (2d Dep’t 2019), Peters v. Accurate Bldg. Inspectors Div. of Ubell Ent., Inc., 29
A.D.3d 972, 973 (2d Dep’t 2006), Maldonado v. Olympia Mech. Piping & Heating Corp., 8
A.D.3d 348, 350 (2d Dep’t 2004), and Stennett v. Moveway Transfer & Stor., Inc., 97 A.D.3d
655, 657 (2d Dep’t 2012). Defendants also cite Defendants also cite Ramos v. SimplexGrinnell
LP, 740 F.3d 852, 856 (2d Cir. 2014), a case which did not involve the standard for pleading a
third party breach of contract of a prevailing wage claim, for the unremarkable proposition that
“where [a] contract expressly incorporates the requirement of Section 220 of the NYLL that the
contractor’s workers on the project be paid prevailing wages, those workers. . .may bring
common law breach-of-contract claims as third-party contract beneficiaries.”


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       the court and parties notice of the transactions, occurrences, or series of transactions
       or occurrences, intended to be proved and the material elements of each cause of
       action or defense.” Under the standard of Iqbal, factual allegations need only state
       a plausible claim.

Velasquez v. Vikrant Contr. & Builders, Inc., No. 15-CV-2783 (RRM) (RLM), 2021 U.S.

Dist. LEXIS 63430, at *18 (E.D.N.Y. Mar. 31, 2021)

       In Velazquez, although the plaintiffs had not identified the specific contracts by number or

other identifying terms, and had not quoted the specific provisions of such contracts requiring the

payment of prevailing wages, the court concluded:

       Plaintiffs have alleged the facts necessary to a prevailing wage claim in non-
       conclusory, non-threadbare fashion. They state that plaintiffs worked on State- and
       City-funded construction contracts to which [Defendant] was a party. They claim
       that the State prevailing wage rate governed these contracts, and that defendants
       failed to pay them accordingly. As workers on these contracts, they claim they were
       intended beneficiaries, which is a non-controversial statement of New York State
       law, as already discussed. They have thus stated all facts relevant to their third-
       party beneficiary theory. Discovery will quickly establish or disestablish plaintiffs’
       factual entitlement to relief, at least as far as these contracts are concerned.

Velasquez, 2021 U.S. Dist. LEXIS 63430, at *18-19

       On similar facts, in Little v. Carlo Lizza & Sons Paving, Inc., 160 F. Supp. 3d 605, 615

(S.D.N.Y. 2016), Judge Engelmayer noted,

       The [prevailing wage] contracts themselves are not attached to the Complaint, but
       plaintiffs allege that they “obligated Defendants to pay Plaintiffs . . . at or above the
       local prevailing wage rates.” Compl. ¶ 40. Defendants, who unlike plaintiffs are
       signatories to the contracts, have not come forward with the contracts—which
       would have been cognizable as integral to the Complaint, see Chambers v. Time
       Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002)—to contradict this allegation. The
       Court, therefore, must and does accept the allegation as true.

Little v. Carlo Lizza & Sons Paving, Inc., 160 F. Supp. 3d 605, 615 (S.D.N.Y. 2016).

3. IT CAN BE INFERRED THAT PUBLIC WORKS CONTRACTS CONTAIN A
   PROVISION REQUIRING THE PAYMENT OF PREVAILING WAGES.

       Although “plaintiffs asserting their rights to prevailing wages as third-party beneficiaries

have typically submitted the underlying contracts to the courts hearing their claims”, the failure to


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submit the contract does not preclude recovery. See Ramos v. SimplexGrinnell LP, 796 F. Supp. 2d 346,

365 (E.D.N.Y. 2011). In Ramos v. SimplexGrinnell LP, 796 F. Supp. 2d 346, 362 (E.D.N.Y. 2011),

plaintiffs were unable to furnish all of the prevailing wage contracts under which the they allegedly

performed work. Defendants moved for summary judgment, arguing that the breach of contract

claims could not be proved without the contracts themselves. Plaintiffs responded that the contracts

themselves were “not needed because New York state law requires that all public works contracts

contain a prevailing wage provision”, and that “[w]ith respect to the projects for which they do not

have contracts” they would “rely primarily upon this statutory requirement to prove their

contractual entitlement to prevailing wages.” Ramos v. SimplexGrinnell LP, 796 F. Supp. 2d 346,

362 (E.D.N.Y. 2011).

       Magistrate Judge Gold denied defendant’s motion for summary judgment:

       In light of the particular circumstances of this case, I conclude that defendant may
       not obtain summary judgment on plaintiffs’ third-party beneficiary claims on the
       grounds that plaintiffs will not be offering the underlying contracts in evidence.

Ramos v. SimplexGrinnell LP, 796 F. Supp. 2d 346, 362-63 (E.D.N.Y. 2011)

       The court began by noting that “the law mandates that defendant’s public works contracts

contain prevailing wage provisions” and furthermore that “[w]hen parties enter into a contract,

they are ‘presumed or deemed to have contracted with reference to’ applicable existing laws. 11

WILLISTON ON CONTRACTS § 30:19 (4th ed.).” Ramos v. SimplexGrinnell LP, 796 F. Supp. 2d 346,

362-63 (E.D.N.Y. 2011)(collecting cases). “Thus, and in particular absent any evidence to the

contrary, I presume that all of defendant’s public works contracts either explicitly or implicitly

provide for payment of prevailing wages as required by Labor Law § 220.” Id. Moreover,

       There is no need to parse the particular language of any one contract’s prevailing
       wage terms to determine whether defendant breached it; the provision is either
       present or not. . .Accordingly…evidence of the statutory mandate that prevailing
       wages be paid on public construction projects. . .may be admitted to support the
       inference that all of defendant’s public works contracts contain prevailing wage


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        provisions. Defendant, of course, is free to challenge whether the class is entitled
        to prevailing wages on any particular project by submitting any contracts that it
        contends provide that prevailing wages need not be paid.

Ramos v. SimplexGrinnell LP, 796 F. Supp. 2d 346, 365 (E.D.N.Y. 2011).

        The New York City Prevailing Wage Schedule calls for the payment of prevailing wages

to those performing landscaping work, whether as part of a larger construction project or standing

alone. 19As the work performed by the Plaintiffs herein was “public work”, it may be inferred and

even presumed that each contract for performance of such work contained a provision requiring

the payment of prevailing wages to the Plaintiffs.

4. KELCO LANSCAPING, INC. AND KELCO CONSTRUCTION, INC. ARE ALTER-
   EGOS AND FORM PART OF A SINGLE INTEGRATED ENTERPRISE

        Plaintiffs allege that “Kelco Construction, Kelco Landscaping and ELM (the “Corporate

Entities”) form part of a single integrated enterprise (the “Kelco Enterprise”), and therefore

constitute a single employer for the purposes of FLSA and NYLL liability.” TAC 30. “Upon

information and belief, the Corporate Entities share interrelated operations, common management,

centralized control of labor relationships, and common ownership.” TAC 31. “Upon information

and belief, the Corporate Entities are commonly owned, operated, and managed by Defendants

John Kelly (“Kelly”) and Joseph Provenzano (“Provenzano”).” TAC 32. “The Corporate Entities

share a common principal place of business.” TAC 33. “The Corporate Entities are involved in the

business of landscaping and construction.” TAC 34.

        Aside from the obvious – that Kelco Landscaping and Kelco Construction share the same

name,




19
  See Excerpts from the Office of the Comptroller, City of New York § 220 Prevailing Wage
Schedule, annexed to the Moser Declaration as Exhibit 5.


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          (A)           On February 16, 2016 John Kelly submitted an application for a home improvement

                        license for Kelco Landscaping, Inc. to the Suffolk County Department of Labor,

                        Licensing and Consumer Affairs. 20 In the application, which was affirmed to be

                        true by Mr. Kelly, he acknowledges:

                (i)        That he is the President, Vice President, and Secretary-Treasurer of Kelco

                           Landscaping, Inc.

                (ii)       Tha he is a principal officer in Kelco Construction, Inc.

                (iii)      That both Kelco Construction, Inc. and Kelco Landscaping, Inc. are located at the

                           same address.

                (iv)       That Kelco Landscaping, Inc. “Installs plant material, sod, soil, seed, and

                           Landscaping Services.”

                (v)        When asked to describe his experience on the Kelco Landscaping, Inc. application,

                           he writes:

           30 years working in the landscaping industry. Started out on residential landscaping
           and built the company to a $40 million/year business doing major landscape
           construction projects in NYC. I’ve worked for NYC Parks Department, battery Park
           city, Brooklyn Bridge development Corp., Governors Island, Brooklyn botanical
           Gardens, World Trade Center, USTA tennis center, Metropolitan Museum,
           Museum of modern Art, Hudson River Park, United Nations, Central Park
           Conservancy, many, many high profile projects. Our services include installing
           plant material, large trees, sod, soil, any and all landscaping materials. We’ve built
           playgrounds, parks, ball fields, gardens and more. Extensive background in all
           aspects of landscape construction.

          (B)           Information received from the New York State Insurance Fund Shows that Kelco

                        Construction, Inc. and Kelco Landscaping, Inc. employees are covered under the

                        same workers’ compensation insurance policy. 21




20
     The application for Kelco Landscaping, Inc. is annexed to the Moser Declaration as Exhibit 6.
21
     Documents obtained from the New York State Insurance Fund are annexed to the Moser Declaration as Exhibit 7.


                                                          12
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       (C)       According to the Federal Motor Carrier Safety Administration, Safety and Fitness

                 Electronic Records, Kelco Landscaping, Inc. does business as “Kelco

                 Construction.” 22

       (D)       Vehicles used by Kelco Construction, Inc. say “Kelco Landscaping.” 23

       (E)       The settlement agreement in the Henriquez matter was signed by both John Kelly

                 and Joseph Provenzano on behalf of the corporate defendants Kelco Construction,

                 Inc. and Kelco Landscaping, Inc. 24

       (F)       Both Kelco Construction, Inc. and Kelco Landscaping, Inc. share the same logo

                 and name – a Green Tree followed only by the word “Kelco.” 25

5. IN THE EVENT THAT THE COURT BELIEVES THAT THE CLAIMS ASSERTED
   IN THE TAC DO NOT MEET THE PLEADING STANDARD, LEAVE TO AMEND
   SHOULD BE GRANTED.

        This is the first time that the Court will rule on the issues presented in Defendants’ Motion

to Dismiss. While the Defendants suggest that any failure to cure defects has been willful because

they “put the plaintiffs on notice”, it is not the Defendants who ultimately decide whether or not

the claims have been sufficiently pled or in what way they may be amended in order to meet the

applicable pleading standard.

        Therefore, to the extent that the Court finds that the allegations have not been sufficiently

pled, Plaintiffs respectfully request that the dismissal be without prejudice.




22
   See Exhibit 8 to the Moser Declaration.
23
   Photographs of the vehicles are annexed to the Moser Declaration as Exhibit 9.
24
   The first and last page of the Henriquez settlement agreement are annexed to the Moser Declaration as Exhibit 10.
25
   See Exhibit 11 (taken from Kelco Construction’s website) and Exhibit 12 (a letter submitted by John Kelly on
behalf of Kelco Landscaping, Inc. to the NYSIF).


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                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Defendants’ motion be

denied in its entirety, and in the alternative that any dismissal be without prejudice.

Dated: July 13, 2023
       Huntington, New York

                                                      Respectfully Submitted,

                                                      MOSER LAW FIRM, P.C.

                                                      /s Steven J. Moser
                                                      By: Steven J. Moser (SM 1133)




                                                 14
